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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

In re:                                                      Chapter 7

Juan Pablo Bruzual,                                         Case No. 19-21823-JKO

            Debtor.
____________________________/

         CROSS NOTICE OF TAKING RULE 2004 EXAMINATION DUCES TECUM

         Creditor, Daniel Guenni (“Creditor”), by and through undersigned counsel, hereby gives

notice that it will examine the following person, under oath, at the following date, time and

location:

                Examinee:     Juan Pablo Bruzual
                Date:         February 3, 2020
                Time:         10:00 a.m.
                Location:     Kozyak Tropin & Throckmorton, LLP,
                              8201 Peters Road, Suite 1000, Office 26,
                              Plantation, FL 33324

         The examination may continue from day to day until completed. The examination is

pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure and Local Rule 2004-1, and

will be taken before an officer authorized to record the testimony. The scope of the examination

shall be as described in Rule 2004 of the Federal Rules of Bankruptcy Procedure. Pursuant to

Local Rule 2004-1 no order shall be necessary. Undersigned counsel reserves the right to ask any

and all questions at the time of the examination, and review any and all documents produced at the

examination.

         Juan Pablo Bruzual is required to produce to undersigned counsel a copy of all

documents and items responsive to the document requests set forth in the Re-Notice of Taking

Rule 2004 Examination Duces Tecum [ECF No. 55] filed by Kenneth A. Welt the Chapter 7



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Trustee (the “Trustee’s Re-Notice”) by the same date and time as required in the Trustee’s

Re-Notice.

Dated: January 21, 2020

                                             Respectfully submitted,

                                             KOZYAK TROPIN & THROCKMORTON, LLP
                                             Counsel for Daniel Guenni
                                             2525 Ponce de Leon Blvd., 9th Floor
                                             Miami, Florida 33134
                                             Tel.: (305) 372-1800
                                             Fax: (305) 372-3508
                                             Email: clc@kttlaw.com

                                             By: /s/ Corali Lopez-Castro
                                                     Corali Lopez-Castro
                                                     Florida Bar No. 863830


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 21, 2020, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served this day via transmission of Notice of Electronic Filing generated by CM/ECF on

all counsel of record or pro se parties who are authorized to receive electronically Notices of

Electronic Filing in this bankruptcy case.

                                                     By: /s/ Corali Lopez-Castro
                                                             Corali Lopez-Castro




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